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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re: : Case No. 01-01139 (JKF)
W.R. GRACE & CO., et al, : (Jointly Administered)
Debtors. Hearing Date: September 27, 2004 @ 12:00 p.m.

Objection Deadline: September 20, 2004

NOTICE OF MOTION OF INTERCAT, INC.
FOR LEAVE TO FILE A LATE PROOF OF CLAIM

TO:

Laura Davis Jones, Esquire Frank J. Perch, III, Esquire
Pachulski Stang Ziehl Young Jones Office of the U.S. Trustee

919 North Market Street J. Caleb Boggs Federal Building
16" Floor 844 King Street, Room 2207
Wilmington, Delaware 19899 Wilmington, Delaware 19801

Intercat, Inc. has filed a Motion for Leave to File a Late Proof of Claim.
HEARING ON THE MOTION WILL BE HELD ON September 27, 2004 at 12:00 p.m.
You are required to file a response (and the supporting documentation required by Local

Rule 4001-1(d)) to the referenced motion at least by Monday, September 20, 2004. At the same
time you must also serve a copy of the response upon movant’s attorney:

R. Karl Hill, Esquire David M. Posner, Esquire
Seitz, Van Ogtrop & Green, PA Hogan & Hartson LLP
222 Delaware Avenue, Ste 1500 875 Third Avenue

P. O. Box 68 New York, NY 10022
Wilmington, DE 19899 (212) 918-3000

(302) 888-0600 (212) 918-3100 (fax)

(302) 888-0606 (fax)

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The hearing date specified above may be a preliminary hearing or may be consolidated
with the final hearing, as determined by the Court.

The attorneys for the parties shall confer with respect to the issues raised by the motion in
advance for the purpose of determining whether a consent judgment may be entered and/or for
the purpose of stipulating to relevant facts such as value of the property, and the extent and
validity of any security instrument.

DATED: August Jo 2004 SEITZ, VAN OGTROP & GREEN, P.A.

/s/ R. Karl Hill g ntfs

R. Karl Hill (DE #2747) ,
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Wilmington, Delaware 19899
(302) 888-0600 (Telephone)

(302) 888-0606 (Telecopier)

and

HOGAN & HARTSON L.L.P.
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Attorneys for Intercat, Inc.

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